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                             UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                  SAN FRANCISCO DIVISION

RICHARD KADREY, et al.,                              Case No. 3:23-cv-03417-VC

        Individual and Representative Plaintiffs,
                                                     REPLY IN SUPPORT OF PLAINTIFFS’
   v.                                                MOTION FOR LEAVE TO FILE THIRD
                                                     AMENDED CONSOLIDATED
META PLATFORMS, INC.,                                COMPLAINT

                                     Defendant.




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       With just two hours left before the fact discovery cut-off on Friday, December 13, 2024,

Meta produced some of the most incriminating internal documents it has produced to date relevant

to Meta’s copyright infringement claim and fair use defense, as well as Plaintiffs’ proposed new

claims. These documents concern Meta’s torrenting and processing of pirated copyrighted works,

including that: Meta’s CEO, Mark Zuckerberg, approved Meta’s use of the LibGen dataset

notwithstanding concerns within Meta’s AI executive team (and others at Meta) that LibGen is “a

dataset we know to be pirated,” Stein Reply Decl. (“Reply Ex.”), Ex. A at 211699, 211702; top

Meta engineers discussed accessing and reviewing LibGen data but hesitated to get started because

“torrenting from a [Meta-owned] corporate laptop doesn’t feel right �,” Reply Ex. B at 204224;

one of those engineers “filtered . . . copyright lines” and other data out of LibGen to prepare a

CMI-stripped version of it to train Llama, Reply Ex. C at 204220-21; and, by January 2024, Meta

had already torrented (both downloaded and distributed) data from LibGen, Reply Ex. D. 1 And

just yesterday, when asked about the type of piracy described in the TACC, Mr. Zuckerberg

testified that such activity would raise “lots of red flags” and “seems like a bad thing.” Reply Ex.

E (Zuckerberg Dep. Tr.) at 102:10–14; 98:24–99:2.

       Especially against this backdrop, Meta’s arguments about delay and bad faith are without

basis. In addition to the recently produced documents and testimony cited in Plaintiffs’ Motion

that support Plaintiffs’ proposed amendments and additional claims, Meta just produced still more

evidence central to those proposed amendments and claims. And it did so just days after Meta

opposed Plaintiffs’ Motion by claiming Plaintiffs unduly delayed and “lack[ed] . . . good faith.”

While Plaintiffs continue to seek relevant evidence withheld by Meta, including challenging

privilege assertions for which Judge Hixson has ordered in camera review, see, e.g., Dkt. 341, and

Meta’s failure to sufficiently prepare 30(b)(6) witnesses, see Dkt. 336, the evidence Meta produced

on the last day of discovery only further establishes the validity of Plaintiffs’ amendments.




1
 According to their “File Paths,” Meta collected these and hundreds of other documents months
ago, some as early as June 2024. Yet Meta withheld them until the last hours of fact discovery.

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       A. Meta Wrongly Asserts Plaintiff’s DMCA Claim Was Dismissed With Prejudice.

       The Court dismissed Plaintiffs’ original § 1202(b)(1) claim without prejudice and set a 21-

day deadline to amend without leave. Dkt. 56 at 3–4. Meta cites no legal authority supporting the

notion that failure to amend in the “without leave” period results in dismissal with prejudice,

foreclosing amendment with leave. 2 No such rule exists. See, e.g., Wang v. Zymergen Inc., 2024

WL 773603, at *1 (N.D. Cal. Feb. 26, 2024) (granting leave to add a previously dismissed claim

based on “discovery obtained to date,” where dismissal more than a year earlier set a 28-day

deadline to amend). Plaintiffs took the Court’s ruling seriously and waited for evidence fully

supporting a DMCA claim. See Leines v. Homeland Vinyl, 2020 WL 6044037, at *3-*5 (E.D. Cal.

Oct. 13, 2020); Carlson v. Colorado Ctr. for Repr. Med., 2022 WL 180222, *1-*2 (N.D. Cal. Jan.

20, 2022); Moore v. Wells Fargo Bank, N.A., 2023 WL 5538268, at *2 (N.D. Cal. Aug. 28, 2023). 3
       B. Meta Produced Facts Underlying the Proposed Amendments One Week Before
          Filing.
       Meta incorrectly contends that Plaintiffs lack “new” evidence justifying leave to amend.

Opp. at 6. Plaintiffs promptly filed their Motion after Meta’s 30(b)(6) testimony on November 20,

2024, during which Plaintiffs learned for the first time that (a) Meta systematically stripped CMI

from the copyrighted works it used to train its models, and (b) Meta torrented LibGen, including

seeding that data to make it available online to other users. Plaintiffs who wait until they have

“sufficient evidence of conduct upon which they could base claims of wrongful conduct” have “a

satisfactory explanation for their delay.” DCD Programs v. Leighton, 833 F.2d. 183, 187 (9th Cir.

1987); Leines, 2020 WL 6044037 at *3-*5. More generally, “delay, by itself, is insufficient to

justify denial of leave to amend.” DCD, 833 F.2d at 186; Tiedemann v. von Blanckensee, 72 F.4th

1001, 1011 (9th Cir. 2023) (district court abused discretion by denying leave). And when there is

no scheduled pretrial conference or trial date, there is no prejudicial delay. DCD Programs, 833


2
  The single case that Meta cites, Fallay v. San Franciso, 2016 WL 888901, at *3 (N.D. Cal. Mar.
8, 2016), is inapposite. It was dismissed in its entirety after the pro-se plaintiff failed to amend his
complaint before the Court’s 30-day deadline to re-plead, and the Court held he could not later
revive the action after the deadline lapsed. There was no ongoing case, nor discovery of new facts.
3
  The Court never set a deadline to amend the Complaint, and Meta provides no basis for its claim
(Opp. at 15) that Plaintiffs were somehow supposed to propose a deadline to amend pleadings.

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F.2d. at 188.

       As to Plaintiffs’ DMCA claim, only documents and testimony provided after November

20, 2024 confirmed that (a) Meta had integrated the books data it stripped of CMI into Llama

training—as opposed to merely being an experiment, and (b) Meta had made stripping CMI from

copyrighted works a regular practice. The sole Google Doc Meta points to as purportedly sufficient

to require the earlier filing of Plaintiffs’ DMCA claim shows the results of a series of “ablation

experiments” that assessed the effects of integrating LibGen into existing Llama models. See Mot.

Ex. 7 (emphasis added). But that document does not address Meta’s actual practices in removing

CMI from books to use with Llama. Meta also argues (Opp. at 7) that the mere questioning of a

witness at a September deposition about this document somehow also supports untimeliness of the

Motion. But that deponent, Todor Mihaylov, testified that he did not “know how [the training data]

was processed” at Meta. See Reply Ex. F (Mihaylov Dep. Tr.) at 75:5-80:15, 80:20. Plaintiffs were

unable to confirm that Meta stripped CMI as a regular practice until the deposition of its 30(b)(6)

witness Michael Clark, on November 20, 2024. Reply Ex. G (Clark Dep. Tr. 11/20/24) at 312:18-

314:12 (Meta knowingly used a version of LibGen for which Mr. Bashlykov had written a script

“to remove copyright information,” including “the word copyright, the word ‘acknowledgments,’

and matches upon phrases and lines in . . . the book that did that”).

       As to CDAFA, Meta fails to support its contention that torrenting came to light “months

ago.” Opp. at 3. Instead, Meta relies on the same Google Doc mentioned above to assert that

Plaintiffs were aware of “Meta’s downloading and use of LibGen and other ‘shadow libraries.’”

Id. at 7. But Meta’s mere “use of shadow libraries” is not the basis for Plaintiffs’ CDAFA claim;

rather, the claim turns on Meta’s downloading and distributing Plaintiffs’ data “without

permission.” See § D.2, infra. Further, Meta wrongly conflates the date of its document production

with the date when Plaintiffs had sufficient information to understand and plead Meta’s use of

torrenting, seeding, and other means to acquire and use such shadow libraries. The lone document

relied on by Meta mentions only that torrenting was a possible way to acquire LibGen, and in fact

states Bashlykov “decided to go with direct file upload without using torrents” due, in part, to


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“seeding” that “could be legally not ok.” Mot. Ex. 7 at 89856 (emphasis added). Again, as with

CMI stripping, it was only the 30(b)(6) deposition on November 20 that provided the pivotal

evidence, one week before Plaintiffs filed their Motion. See Reply Ex. G at 312:18-314:12. 4

       Indeed, Plaintiffs filed this motion just seven days after Meta’s corporate representative

provided testimony about Meta’s systematic practices of stripping CMI from, torrenting, and

seeding Plaintiffs’ and Class members’ copyrighted works. Plaintiffs filed the motion weeks before

the close of fact discovery, months before the close of expert discovery, summary judgment, and

class certification, and likely more than a year before any pre-trial conference and trial. These facts

readily distinguish this case from those Meta cites. In Zivkovic v. S. Cal. Edison Co., the finding

of undue delay was heavily informed by a trial scheduled to start three months after the motion

was filed. And unlike in Brownlee v. 12745 Moorpark, there was no months-long delay between

discovery of information needed and the seeking of amendment. See also, e.g., Leines, 2020 WL

6044037 at *3–5.

       C. Granting Leave to File the TACC Causes Meta No Meaningful Prejudice.

       Meta’s claim, at Opp. 8-10, that it would be prejudiced by leave to amend is meritless.

Plaintiffs have already sought and obtained discovery on the subjects Meta raises. No reopening

of discovery is thus necessary for Meta to defend itself. Because courts in this Circuit apply Rule

15 “with extreme liberality,” Desertrain v. City of Los Angeles, 754 F.3d 1147, 1154 (9th Cir.

2014), the party opposing amendment bears a “heavy burden” to show prejudice. Larios v. Nike

Retail Servs., Inc., 2013 WL 4046680, at *3 (S.D. Cal. Aug. 9, 2013). Meta has far from met that

burden.

       Meta argues amendment would “upend the case schedule.” Not so. Plaintiffs do not seek

to amend the case schedule at all. The new claims are based on discovery already obtained. And

without any request to modify the schedule, Meta’s invocation of Rule 16 is inapposite. Granting


4
  Mr. Clark’s testimony concerning seeding is also the basis for certain of Plaintiffs’ conforming
amendments to its existing copyright claim, which further elaborates on Meta’s infringement by
reproduction. Meta identifies no way in which it needs to “obtain additional discovery” with
respect to this form of reproduction. The rest of Meta’s objections to Plaintiffs’ conforming
amendments are similarly baseless. See Opp at 14-15.

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leave to amend is thus “particularly appropriate” where, as here, it “will not disrupt any other

deadlines in this case.” Srigley v. Monterey Peninsula Yacht Club, Inc., 2024 WL 4143590, at *2

(N.D. Cal. Sept. 11, 2024).

       Meta nonetheless argues that it would need to reopen discovery to seek evidence regarding

its CMI-stripping and torrenting practices. But naturally, Meta is already aware of its own

practices. And, in any event, Plaintiffs already sought discovery on these issues and Meta has

provided it (and/or it is the subject of letter briefing before Judge Hixson). See, e.g., Mot. Ex. 2 at

101615 (Meta removed copyright material from journal articles); Reply Ex. H at RFP 119 (“All

Documents and Communications, including source code, relating to the processing of copyrighted

material used in training Llama Models”); 5 Mot. Ex. 9 (identifying the LibGen URL from which

Bashlykov “took the [LibGen] torrent jobs”); Reply Ex. H at RFP 81 (requesting “All Documents

and Communications related to the decision to use Shadow Datasets for training Llama Models”).

Further, Meta already admitted that it both stripped copyrighted books’ CMI from training

datasets, Reply Ex. G at 314:10–12, and torrented LibGen via LibTorrent and made LibGen

available for download via seeding, id. at 349:22-350:12. The extensive existing discovery on

these issues distinguishes the present case from Lockheed Martin v. Network Sols., where the

plaintiff sought to “add causes of action on which discovery had not been undertaken.” 194 F.3d

980, 986 (9th Cir. 1999). 6

       Similarly, Meta fails to show prejudice by arguing that it might seek to dismiss Plaintiffs’

amended claims. “[T]he fact that adding new claims to a complaint will require the defendants to

defend against those claims on the merits does not constitute undue prejudice.” Wang v. Zymergen

Inc., 2024 WL 773603, at *3 (N.D. Cal. Feb. 26, 2024) (“time and expense of litigating a motion

to dismiss the new claim” not prejudicial). Meta may choose to bring a motion to dismiss while

5
  See Dkt. No. 308 at 3, 6. Plaintiffs are currently challenging Meta’s refusal to produce documents
concerning its storage and processing of copyrighted material, topics that are clearly relevant both
to Plaintiffs’ existing copyright claim and the TACC’s two additional claims.
6
  If Meta in fact needs more time for discovery on new, yet unidentified defenses, then Plaintiffs
would not oppose Meta’s request. But Meta has not made any such request, just like it has not
asked to expedite briefing or advance the hearing—other measures Plaintiffs would not oppose if
asked.

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expert discovery is ongoing in early 2025 or it can make its arguments during summary judgment.

       Meta also cannot show prejudice by claiming it will have to change its expert strategy. See

generally Ohio Cas. Ins. Co. v. Eagle Mist Corp., 2021 WL 1222424, at *4 (E.D. Mo. Mar. 31,

2021) (“Any time a party amends a pleading to add new claims or other parties, the case will

demand additional work; denying leave to amend on that ground would not accord with Rule 15’s

dictate that leave to amend be freely given when justice so requires.”) (cleaned up). Courts

routinely allow parties to plead additional claims well into and after discovery. See Leines, 2020

WL 6044037 at *3–5; Hansen Beverage v. Nat’l Beverage, 2007 WL 9747720, at *2 (C.D. Cal.

Feb. 12, 2007) (collecting cases). It is unclear why Meta needs experts rather than lay testimony

for the points they raise (aside from referencing “technical details” twice). In any event, there’s no

significant prejudice to Meta in hiring an expert to address the issues it identifies because Meta

already possesses the information any expert might need. See Opp. at 9 (also failing to identify the

type of new expert needed).

       Meta’s insistence that it must question Plaintiffs about the harms they allege, or whether

they’ve engaged in the same illicit conduct as Meta also falls flat. See Opp. at 9-10. Plaintiffs have

no firsthand knowledge of Meta’s CMI-stripping and torrenting. That is all that could be at issue.

       D. The TACC’s New Claims Are Not Futile.
           1. Plaintiffs’ DMCA Claim Sufficiently Pleads Knowledge and Harm.
       Meta incorrectly seeks to apply a Rule 12 standard to this Motion. Courts “generally . . .
defer[] consideration of challenges to the merits after leave to amend is granted and the amended

pleadings are filed.” Stanz v. Brown, 2023 WL 2254910, at *4 (S.D. Cal. Feb. 27, 2023); see also

Morand-Doxzon v. DE N. Companies Sportservice, 2021 WL 831263, at *4 (S.D. Cal. Mar. 4,

2021) (“Case law indicates that where there is a colorable claim, courts must grant leave to

amend.”) Meta argues Plaintiffs’ DMCA claim fails to allege it knew or had reasonable grounds

to know its removal and alteration of CMI would enable and conceal its infringement. Opp. at 11.

But the TACC alleges precisely that. See TACC ¶¶ 88-90 (Meta stripped CMI “to reduce the

chance that the models will memorize this data” and “the models cannot regurgitate data they are



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not trained on[.]”), 106-108. So Meta attempts to characterize those allegations as “conclusory” or

somehow illogical. Opp. at 11. But the TACC alleges the full context of how stripping CMI from

training data prevents its regurgitation by Llama. See TACC ¶¶ 80, 88-90, 106-108. And contrary

to Meta’s assertion, the mere output of copyrighted material would not make Meta’s infringement

“obvious” to a typical user or the public, while Llama’s output of CMI—text like “©”, “copyright”,

and “All rights reserved”—would make discovery of such infringement more likely. See id., ¶¶

88-90, 106-108.

       Meta also argues that Plaintiffs lack standing for their DMCA claim because the TACC

purportedly alleges no cognizable harm. Opp. at 11. As Plaintiffs pointed out in their Motion (at

9-10), this Court will not be alone in permitting a DMCA claim to proceed on similar AI training

facts. See The Intercept Media v. OpenAI, No. 24-cv-01515 (S.D.N.Y. Nov. 21, 2024), Dkt. 122

(denying motion to dismiss for “reasons [the Court] will issue in due course”) (Rakoff, J.). The

facts in The Intercept Media are similar in all relevant respects to those in this case, including with

respect to harm. Compare id., Dkt. 1, Compl., ¶¶ 51-61, 66-75 with TACC ¶¶ 80, 88-90, 103-109.

        Rather than engage with that case, Meta relies on Raw Story Media v. OpenAI, which held

that the plaintiff news organization lacked standing to sue OpenAI for violating § 1202(b)(1)

because Article III requires that plaintiffs allege a “concrete” injury, 2024 WL 4711729, at *4

(S.D.N.Y. Nov. 7, 2024) (citing TransUnion LLC v. Ramirez, 594 U.S. 413, 424 (2021)), and the

“mere removal” of CMI was insufficient without dissemination of plaintiffs’ works in OpenAI’s

chatbot. Id. To start, the Raw Story court is permitting amendment. In addition, Raw Story is

distinguishable because the plaintiffs in that case only brought a § 1202(b)(1) claim. Here,

however, the Court already permitted Plaintiffs’ copyright infringement claim to proceed; and,

conspicuously, Meta has not raised a Transunion argument against infringement. The stripping of

CMI to enable and conceal that same (injurious) infringement likewise has contributed to

Plaintiffs’ deprivation in receiving no payment, when they should have been paid. Cf. Raw Story,

2024 WL 4711729 at *5 (plaintiffs “truly seek redress” for “[OpenAI’s] use of [their] articles”).

       The Raw Story court also held that a § 1202(b)(1) violation without dissemination did not


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cause a cognizable injury for Article III purposes because it did not have a “close historical or

common-law analogue.” Id. But the Ninth Circuit credits Congress’s judgment about which

statutory violations constitute cognizable harm, especially when technological advances make

protections against those new harms necessary. See Van Patten v. Vertical Fitness Grp., 847 F.3d

1037, 1043 (9th Cir. 2017) (recognizing Congress’s role in “elevating” injuries to concrete and

cognizable status and holding valid the “substantive right to be free from” autodialed calls and

texts under the TCPA); Wakefield v. ViSalus, 51 F.4th 1109, 1118 (9th Cir. 2022) (Van Patten’s

analysis is consistent with TransUnion), cert. denied, 143 S. Ct. 1756 (2023). Raw Story made no

such analysis concerning the removal of CMI under § 1202(b)(1), even though Congress notably

made “distribution” (i.e., dissemination) a necessary element only in violations of sub-sections (2)

and (3). 7 Congress, not the Raw Story court, deserves deference in its choice to elevate the removal

of CMI—with knowledge that such removal enabled or concealed infringement—into a cognizable

harm, regardless of whether there was distribution. See Van Patten, 847 F.3d at 1043. Enforcing

§ 1202(b)(1) as written against Meta for its CMI-stripping campaign provides the heightened

protections Congress intended copyright owners to have to combat the risks of the Internet age. 8

           2. Plaintiffs’ CDAFA Claim Is Not Preempted and Is Sufficiently Pleaded.

       Meta argues that Plaintiffs’ CDAFA claim is preempted because the alleged unauthorized

access here is not an “extra element” making the claim qualitatively different from infringement.

See Opp. at 12-13. Meta reaches this conclusion by citing a single case—one that does not involve

CDAFA (or any hacking). See id. (citing Maloney v. T3 Media, 853 F.3d 1004 (9th Cir. 2017)).

       Plaintiffs’ CDAFA claim alleges Meta torrented—illicitly downloaded and distributed

(“seeded”)—Plaintiffs’ books for training Llama. Plaintiffs’ allegations that Meta used computer
7
  Further, contrary to the reasoning in Raw Story, requiring dissemination for a § 1202(b)(1)
removal claim would make § 1202(b)(1) redundant with § 1202(b)(3). Anyone who intentionally
removed CMI from a work in violation of § 1202(b)(1), and then disseminated the work, would
necessarily have distributed it knowing CMI had been removed, thus violating § 1202(b)(3).
8
  See S. Rep. No. 105–190, at 8 (May 11, 1998) (DMCA addresses the “hesitat[ion]” of copyright
owners “to make their works readily available on the Internet without reasonable assurance that
they will be protected against massive piracy”); H.R. Rep. No. 105–551, pt. 1, at 9–10 (May 22,
1998) (DMCA “adapt[s]” the law to “evolution in technology” that allows users “to send and
retrieve perfect reproductions of copyrighted material easily and nearly instantaneously”
worldwide).

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networks to gain unauthorized access to Plaintiffs’ works are the same type of harm courts have

recognized as not preempted by copyright law. See Capitol Audio Access, Inc. v. Umemoto, 980

F. Supp. 2d 1154, 1159 (E.D. Cal. 2013) (rejecting defendant’s argument that copyright preempts

CDAFA when a complaint alleges only copyright damages). Further, Plaintiffs’ allegations are far

afield from the allegations in Maloney, in which the court found plaintiffs’ “publicity-right claims

and the derivative UCL claim” concerning copyrighted photos of plaintiffs taken by others and

owned by the NCAA “challenge[d] ‘control of the artistic work itself,’” and thus were within “the

subject matter of copyright.” See 853 F.3d at 1019. Meta’s unauthorized access to Plaintiffs’ data

by participating in a worldwide electronic piracy ring as both seeder and downloader provides the

“extra element” necessary to establish an independent CDAFA action. Had Meta bought Plaintiffs’

works in a bookstore or borrowed them from a library and trained its Llama models on them

without a license, it would have committed copyright infringement. Meta’s decision to bypass

lawful methods of acquiring books and become a knowing participant in an illegal torrenting

network establishes a CDAFA violation and serves as proof of copyright infringement. See Capital

Audio, 980 F. Supp. 2d at 1160-61 (rejecting preemption where plaintiffs contended defendant

“‘engage[d] in various activities relating to accessing computers and data without authorization’”).

       Meta further contends the CDAFA claim is not plausible because Plaintiffs allege Meta

used torrenting to obtain the copyrighted data from “publicly available” websites—thus there is

no allegation of unlawful computer access, just “objection to inclusion of [Plaintiffs’] works in

[the] datasets (which Meta did not create)[.]” Opp. at 13. Meta has treated the so-called “public

availability” of shadow datasets as a get out of jail free card, notwithstanding that internal Meta

records show every relevant decision-maker at Meta, up to and including its CEO, Mark

Zuckerberg, knew LibGen was “a dataset we know to be pirated.” Reply Ex. A at 211699 (memo

to Meta’s AI decision-makers noting that after “escalation to MZ,” Meta’s AI team “has been

approved to use LibGen”), 211702 (“[M]edia coverage suggesting we have used a dataset we know

to be pirated, such as LibGen, [] may undermine our negotiating position with regulators.”). For

CDAFA, what matters is that Meta downloaded and distributed Plaintiffs’ copyrighted works in


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the form of computer data “without permission,” and then used it for an improper purpose. See

West v. Ronquillo-Morgan, 526 F. Supp. 3d 737, 745 (C.D. Cal. 2020). Any purported “[p]ublic

availability” does not preclude liability under CDAFA. See U.S. v. Christensen, 828 F.3d 763, 777,

789 (9th Cir. 2015) (CDAFA differs from the federal CFAA in that the former does not require

“unauthorized access,” and the term ‘access’” in Cal. Penal Code § 502(c)(2) “includes logging

into a database with a valid password and subsequently taking, copying, or using the information

in the database improperly”).

       Finally, Meta argues that Plaintiffs have not alleged sufficient harm or damages because

the CDAFA purportedly “contemplates” damage to a “computer system, network, program, or

data.” Opp. at 13-14. Meta misstates the statutes and ignores Plaintiffs’ cited cases. Facts sufficient

to establish that the information accessed and copied by a defendant “carrie[s] financial value,” as

Plaintiffs allege here concerning their copyrighted works, support CDAFA standing. See, e.g.,

Frasco v. Flo Health, Inc., 2024 WL 4280933, at *3 (N.D. Cal. Sept. 23, 2024). Further, “damages

in an amount to be proven at trial” is sufficient because CDAFA’s “compensatory damages include

‘any expenditure . . . incurred by the owner [of data] . . . to verify that , . . data was or was not

altered, damaged, or deleted by the access.’” Biden v. Ziegler, 2024 WL 3498786, at *10 (C.D.

Cal. June 20, 2024) (502(e)(1)); see also Capitol Audio, 980 F. Supp. 2d at 1159–60 (approving a

claim alleging only that the plaintiff “has been injured by [defendant’s] violations of” CDAFA).

       E. Plaintiffs Sought Leave To Amend Their Operative Complaint In Good Faith.

       Meta repackages its arguments about purported delay and prejudice to argue that Plaintiffs’

amendments “lack[] good faith.” Yet Plaintiffs filed their Motion just seven days after Meta’s

30(b)(6) witness confirmed, for the first time, Meta’s CMI-stripping and torrenting practices.

Plaintiffs also seek no discovery extension or change to the case schedule, notwithstanding Meta’s

insistence otherwise. If nothing else, Plaintiffs’ waiting until there was sufficient evidence to

support their claims shows they acted in good faith. Meta’s suggestion to the contrary has no merit.




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Dated: December 18, 2024                        By: /s/ Joshua M. Stein______
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